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Morgan Lewis

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December 2, 2019

Via ECF

The Honorable Andrew L. Carter
United States District Judge

United States District Court

For the Southern District of New York
40 Foley Square, Room 435

New York, NY 10007

Re: Dennis v. Eagle Creek, Inc., No. 1:19-cv-06674-ALC
Request to Extend Time to Finalize Agreement

Dear Judge Carter:

We represent defendant Eagle Creek, Inc. (“Defendant”) in the above-referenced action. Pursuant
to Rule 1(A) of Your Honor’s Individual Practices, we write with the consent of counsel for plaintiff
Derrick U. Dennis (‘Plaintiff’), respectfully to request that the Court extend the stay of all deadlines
for an additional 30 days, from December 4, 2019 to January 3, 2020, to permit the parties to
finalize the terms of their agreement and submit a stipulation of dismissal to the Court. This is
Defendant’s first request to extend time to file the stipulation of dismissal. If granted, this
extension will not affect any other date scheduled in this action.

We thank the Court in advance for its consideration of this request.

Respectfully submitted,
/s/ Michael F. Fleming
Michael F, Fleming

Attorney for Defendant

cc: All Counsel of Record (via ECF)

 

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